                Case
2AO 245C (Rev. )   2:10-cr-00407-KJD-GWF
                      Amended Judgment in a Criminal Case               Document 187             Filed 04/03/13(NOTE:
                                                                                                                   Page     1 Changes
                                                                                                                      Identify of 8 with Asterisks (*))
                Sheet 1


                                            UNITED STATES DISTRICT COURT
                                                                        District of                                      Nevada

           UNITED STATES OF AMERICA                                              AMENDED JUDGMENT IN A CRIMINAL CASE
                                V.
                                                                                 Case Number: 2:10-CR-407 KJD-GWF-2
                          COREY SMILEY
                                                                                 USM Number: 45006-048
Date of Original Judgment:                2/26/2013                              ROBERT DRASKOVICH (CJA)
(Or Date of Last Amended Judgment)                                               Defendant’s Attorney

Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                 G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                         Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))            G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
✔ Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
G                                                                                     to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                 G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
        *Separate J&Cs in 2:10-CR-209 and 2:10-CR-407                              G 18 U.S.C. § 3559(c)(7)
                                                                                 G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
✔ pleaded guilty to count(s) One of Indictment
G
G pleaded nolo contendere to count(s)
    which was accepted by the court.
G was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                             Offense Ended                 Count
 18 USC § 1349                        Conspiracy to Commit Wire Fraud                                               February
                                                                                                                    3/31/2008 2007                   1




       The defendant is sentenced as provided in pages 2 through                  7         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
✔ Count(s) All Remaining Counts
G                                                     ✔are dismissed on the motion of the United States.
                                                 G is G
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                 2/26/2013
                                                                                Date of Imposition of Judgment


                                                                                 Signature of Judge
                                                                                 KENT J. DAWSON                                  U.S. District Judge
                                                                                 Name of Judge                                   Title of Judge
                                                                                      4/3/13
                                                                                 Date
AO 245C      Case
           (Rev. )2:10-cr-00407-KJD-GWF
                        Amended Judgment in a Criminal Case    Document 187            Filed 04/03/13         Page 2 of 8
           Sheet 2 — Imprisonment                                                                        (NOTE: Identify Changes with Asterisks (*))

                                                                                                      Judgment — Page       2     of         7
DEFENDANT: COREY SMILEY
CASE NUMBER: 2:10-CR-407 KJD-GWF-2

                                                              IMPRISONMENT

     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of
           TIME SERVED




G The court makes the following recommendations to the Bureau of Prisons:




G The defendant is remanded to the custody of the United States Marshal.

G The defendant shall surrender to the United States Marshal for this district:
     G     at                                     G      a.m   G     p.m.        on                                     .

     G     as notified by the United States Marshal.

G    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

     G     before 12:00  p.m.
                  2 p.m. on                                             .

     G     as notified by the United States Marshal.

     G     as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
I have executed this judgment as follows:




     Defendant delivered on                                                           to

at                                                       with a certified copy of this judgment.




                                                                                                   UNITED STATES MARSHAL


                                                                            By
                                                                                             DEPUTY UNITED STATES MARSHAL
                Case 2:10-cr-00407-KJD-GWF                          Document 187               Filed 04/03/13             Page 3 of 8
AO 245C       (Rev. ) Amended Judgment in a Criminal Case
              Sheet 3 — Supervised Release                                                                          (NOTE: Identify Changes with Asterisks (*))

                                                                                                                 Judgment—Page        3      of         7
DEFENDANT: COREY SMILEY
CASE NUMBER: 2:10-CR-407 KJD-GWF-2
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of

           5 Years, to run concurrent with Supervised Release in 2:10-CR-0209 KJD-VCF-2



         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The
 TheDefendant
       defendantshall notnot
                   shall   unlawfully possess
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                                                                                                                                              a controlled
defendant
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drugthe
           shall submit  to one drug test within 15 days  of placement on probation and at least two  periodic drug tests thereafter, as determined by  tests
 thereafter,
court,        as determined
       not to exceed  104 testsby the court.
                                annually. Revocation is mandatory for refusal to comply.

G       The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
G The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
✔ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G
G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
G       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
   1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)    WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHULQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUWRUSUREDWLRQRIILFHU
   3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)    the defendant shall support his or her dependents and meet other family responsibilities;
   5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
   6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
         record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
         defendant’s compliance with such notification requirement.
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AO 245C    (Rev. ) Amended Judgment in a Criminal Case
           Sheet 3C — Supervised Release                                                      (NOTE: Identify Changes with Asterisks (*))

                                                                                           Judgment—Page        4      of         7
DEFENDANT: COREY SMILEY
CASE NUMBER: 2:10-CR-407 KJD-GWF-2

                                       SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall not possess, have under his control, or have access to any firearm, explosive device, or other
dangerous weapons, as defined by Federal, state or local law.

2. The defendant shall submit his person, property, residence, place of business and vehicle under his control to a search
conducted by the United States Probation Officer or any authorized person under the immediate and personal supervision
of the probation officer, at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
or evidence of a violation of a condition of supervision. Failure to submit to a search may be grounds for revocation. The
defendant shall inform any other residents that the premises may be subject to a search pursuant to this condition.

3. The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, or negotiating or
consummating any financial contracts without the approval of the Probation Officer.

4. The defendant shall provide the Probation Officer access to any requested financial information, including personal
income tax returns, authorization for release of credit information, and any other business financial information in which
he/she has a control or interest.

5. The defendant is restricted from engaging in employment, consulting or any association with any mortgage or real
estate business for a period of 5 years.

6. The defendant shall be confined to home confinement with location monitoring, if available, for a period of 4 Months
and shall pay 100% of the costs of location monitoring services based upon his ability to pay.


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 U.S. Probation/Designated     Witness Date            Witness                Date
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 AO 245C    (Rev. ) Amended Judgment in a Criminal Case
            Sheet 5 — Criminal Monetary Penalties                                                          (NOTE: Identify Changes with Asterisks (*))

                                                                                                     Judgment — Page      5     of            7
 DEFENDANT: COREY SMILEY
 CASE NUMBER: 2:10-CR-407 KJD-GWF-2
                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                      Assessment                                         Fine                              Restitution
 TOTALS            $ 100.00                                           $ 0.00                            $ 3,394,828.00


 G The determination of restitution is deferred until                           . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

 ✔ The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
 G
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                                    Total Loss*                Restitution Ordered       Priority or Percentage
First Franklin                                                              $385,733.00              $385,733.00

Lenders Direct Capital Corp                                               $2,086,906.00            $2,086,906.00

Argent Mortgage (Citigroup)                                                 $246,050.00              $246,050.00

Flagstar Bank                                                               $191,819.00              $191,819.00

GMAC                                                                        $484,320.00              $484,320.00


                                                                  **$3,394,828.00 consisting of $1,570,229 as to Case No 2:10-
                                                                  CR-0209-2 KJD-VCF. $1,824,599 as to Case No
Restitution List Attached                                         2:10-CR-0407-2 KJD-RJJ.




 TOTALS                                                           $    3,394,828.00
                                                                         43,300.00            $     43,300.00
                                                                                                   3,394,828.00
 G    Restitution amount ordered pursuant to plea agreement $

 G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

      G the interest requirement is waived for           G fine        G restitution.
      G the interest requirement for            G     fine     G restitution is modified as follows:


 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
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AO 245C     (Rev. ) Amended Judgment in a Criminal Case
            Sheet 6 — Schedule of Payments                                                                (NOTE: Identify Changes with Asterisks (*))

                                                                                                       Judgment — Page      6       of         7
DEFENDANT: COREY SMILEY
CASE NUMBER: 2:10-CR-407 KJD-GWF-2

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    ✔ Lump sum payment of $ 3,394,928.00
     G                                                         due immediately, balance due

           G not later than                                       , or
           ✔ in accordance with G C, G D, G
           G                                                      E, or   ✔F below; or
                                                                          G
B    G Payment to begin immediately (may be combined with G C,                      G D, or     G F below); or
C    G Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                         (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    G Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    ✔ Special instructions regarding the payment of criminal monetary penalties:
     G
          $3,394,828.00 consisting of $1,570,229 as to Case No 2:10-CR-0209-2 KJD-VCF. $1,824,599 as to Case No
          2:10-CR-0407-2 KJD-RJJ. Joint and Several. Restitution balance shall be paid monthly at a rate of 10% of gross
          monthly income, subject to adjustment based on ability to pay.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




✔ Joint and Several
G
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

G    The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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